Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 1 of 31 PageID #: 664




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------X
  UNITED STATES OF AMERICA

                   -against-                                       88-CR-496-01 (ERK)

  LORENZO NICHOLS,

                   Defendant.
  -------------------------------------------------------------X




                       MEMORANDUM OF LAW IN SUPPORT OF
                      MOTION TO REDUCE LORENZO NICHOLS’S
                      SENTENCE UNDER 18 U.S.C. § 3582(c)(1)(A)




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  January 4, 2023
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 2 of 31 PageID #: 665




                                                    Table of Contents

Introduction .......................................................................................................... 1

I. BACKGROUND ............................................................................................... 3

          A. New York State Charges ..................................................................... 3

               1. Narcotics Offenses: 1985-1988 ...................................................... 3

               2. Murder Charges: 1985-1992 ......................................................... 4

          B. Federal Charges .................................................................................... 4

               1. Arrest, Indictment, and Plea: 1988-1989 ..................................... 4

               2.                                                                                   ....................... 6

          C. Federal Incarceration: 1988-2005 ........................................................ 8

          D. NYS Incarceration: 2005-2022 ............................................................. 9

II. THE COURT SHOULD GRANT COMPASSIONATE RELEASE ............... 11

          A. The Court Has Authority to Decide this Motion. ............................... 11

          B. Mr. Nichols’ Circumstances are Extraordinary
             and Compelling. .................................................................................... 11

               1. Rehabilitation ................................................................................ 12

               2. Conditions of Confinement............................................................. 16

               3. Unaddressed Sentencing Issues .................................................... 18

                       i.

                      ii.
                             -            .................................................................................. 18

                              USSG § 5G1.3 ...................................................................... 21

          C. The Proposed Reduction is Consistent With § 3553(a) ....................... 25

Conclusion ............................................................................................................ 26




                                                                  i
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 3 of 31 PageID #: 666




                                                 Table of Authorities

Cases                                                                                                                Page(s)

Concepcion v. United States, 142 S.Ct. 2389 (2022) ................................................... 25

Reynolds v. United States, No. 99-CR-520 (NGG), 2022 WL 1444167
    (E.D.N.Y. May 6, 2022) ...................................................................................... 16, 24

United States v. Amato, 48 F.4th 61 (2d Cir. 2022) .................................................... 19

United States v. Brooker, 976 F.3d 228 (2d Cir. 2020) ......................................... 11, 12

United States v. Correa, No. 08-CR-1026 (VEC) 2020 WL 7490098
    (S.D.N.Y. Dec. 21, 2020) .......................................................................................... 11

United States v. Demeo, No. 17-CR-545 (KAM), 2022 WL 142345
    (E.D.N.Y. Jan. 15, 2022) .......................................................................................... 16

United States v. Miller, 116 F.3d 641 (2d Cir. 1997) .................................................... 7

United States v. Miller, 1996 WL 33661144 (Brief of the United States,
    October 31, 1996) ....................................................................................................... 8

United States v. Miller, No. 92 CR 91 (RJD), 2010 WL 1269796
    (E.D.N.Y. Mar. 30, 2010) ........................................................................................... 7

United States v. Perdomo, 927 F.2d 111 (2d Cir. 1991) .............................................. 23

United States v. Rivera, No. 86 CR. 1124 (JFK), 2020 WL 2094094
    (S.D.N.Y. May 1, 2020) ............................................................................................ 21

United States v. Russo, No. 90-CR-1063, 2022 WL 17247005 (E.D.N.Y.
    Nov. 28, 2022) .................................................................................................... 13, 16

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    (E.D.N.Y. Nov. 11, 2020) ....................................................................... 12, 13, 15, 16

United States v. Trenkler, 47 F.4th 42 (1st Cir. 2022) ............................................... 19

United States v. Tucker, 404 U.S. 443 (1972) ............................................................. 25

Statutes and Other Authorities

18 U.S.C. § 3582 .............................................................................................................. 1

18 U.S.C. § 3585 ............................................................................................................ 24



                                                               ii
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 4 of 31 PageID #: 667




21 U.S.C. § 848 ................................................................................................................ 5

First Step Act of 2018 ................................................................................................... 25

                           ................................................................................................... passim

U.S.S.G. § 5G1.3 .................................................................................................... passim

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     _V.pdf........................................................................................................................ 17

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   fat-cat-nichols-granted-state-parole-released-to-feds/ ........................................... 10

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  Supervision, Directive No. 8500, Aug. 14, 2019, available at
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  against-drug-ring-tied-to-officer-s-killing.html ........................................................ 5




                                                                 iii
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 5 of 31 PageID #: 668




                                                                   ......................... 20




                                                   .......................................... 20




                                     IV
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 6 of 31 PageID #: 669




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X
UNITED STATES OF AMERICA,

                 -against-                                     88-CR-496-01 (ERK)

LORENZO NICHOLS,

                 Defendant.
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                          MEMORANDUM OF LAW OF SUPPORT
                       OF LORENZO NICHOLS’ MOTION TO REDUCE
                        SENTENCE UNDER 18 U.S.C. § 3582(c)(1)(A)

        Introduction – Lorenzo Nichols has been incarcerated since 1985, a period of

37 years. When he was initially jailed in 1985, then 26-years old, Nichols was known

as “Fat Cat” and was the principal of the Nichols Enterprise, an illegal entity that

sold drugs, and engaged in violence throughout Jamaica Queens. The “Fat Cat” days,

however, are far behind Nichols, who, in April 2022, was granted parole from his New

York State conviction for multiple counts of, inter alia, criminal possession of a

controlled substance.

        Nichols’ grant of parole was not an insignificant event, considering he had been

denied parole every year during his previous twelve years of eligibility,

notwithstanding his clean institutional record. These multiple denials reflected

largely the nature of his state offense (drug trafficking), the related instant federal

murder-in-aid of racketeering offense, as well as the murder of Parole Officer Brian

Rooney. To prove the sincerity of his efforts to reform himself, and acknowledge the

toll his criminal life had taken on his community, Nichols, among other things, had

foregone an opportunity to be re-sentenced for his state drug conviction under New

                                                           1
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 7 of 31 PageID #: 670




York’s Drug Law Reform Act, which repealed the notoriously harsh Rockefeller Drug

Laws pursuant to which Nichols 25-to-life sentence had been imposed; if he had

availed himself of resentencing, he would have faced a statutory minimum of 15 years

and a maximum of 30 years. But eventually, after 37 years, his rehabilitation and

countless letters of support carried the day with the Parole Board.

      Now that he has returned to federal custody, Nichols was surprised to learn

that, despite serving 37 years, he has an additional four years to serve on his 40-year

federal sentence: although he was brought by writ into federal custody in August 1988

for arraignment on the instance offense, the BOP computed his sentence to begin as

of his February 1992 sentencing.




                                                                               .

      Nichols, now 64 years old, asks the Court to reduce his sentence by four years

or to “time served.” Either sentence will not result in his immediate release, as a

detainer exists from the State of Florida.1 But it will assure that — whatever happens


1      To resolve charges lodged against him by the State of Florida in 2005, Nichols,
in 2007, entered a nolo contendere plea on advice of counsel, the terms of which
provided Nichols would serve 10 years (running consecutive to his NY and federal
offenses) in exchange for his son, the named co-defendant, receiving a sentence of
probation. Recently, Nichols learned that his son — who was represented by the same
attorney as was Nichols — was cooperating with state authorities when Nichols plead
guilty, strongly supporting a claim that Nichols had been denied his right to conflict-
free counsel.

                                          2
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 8 of 31 PageID #: 671




with his Florida prosecution — he will be released four years earlier than would

otherwise be the case



-      .

      The extraordinary and compelling reasons advanced by Nichols in support of

his request for a reduction in sentence are (1) he is rehabilitated, (2) the conditions of

confinement during COVID, and (3) unaddressed sentencing issues including
                                                                                   -
                                                  , and (ii) the Court’s failure to credit

Nichols with four years of pre-sentence custody under U.S.S.G. § 5G1.3. The

requested sentencing reduction would also be consistent with the § 3553(a) factors.

      For the reasons that follow, this Court should reduce Nichols’ sentence to 36-

years or to time served.

I. BACKGROUND

      Tracing the procedural history of Nichols’ case is perhaps better suited for an

investigative report than a legal memorandum considering it spans nearly 40 years.

Making matters more difficult, many records are missing or are otherwise no longer

available. Nevertheless, we summarize below those facts relevant to the instant

motion, for which we have found corroborating documentation.

      A. New York State Charges

           1. Narcotics Offenses: 1985-1988. According to the PSR, in “late 1985, the

Federal Bureau of Investigation, the Drug Enforcement Administration, and the New

York City Police Department” began investigating a drug-distribution network in the

“vicinity of 159th Street and 107th Avenue in the Jamaica section of Queens, New

                                            3
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 9 of 31 PageID #: 672




York.” PSR ¶ 7. Following several successful buy-busts, the aforesaid federal and

state law enforcement agencies learned that this network, which dealt heroin,

cocaine, and crack, was run by Lorenzo Nichols. Nichols, the investigation revealed,

ran this organization out of Big Mac’s Deli. Id. In July 1985, NYPD arrested Nichols

at Big Mac’s Deli. PSR ¶ 30. He was thereafter charged in Queens County, under

Indictment Number 3945-85, with, inter alia, multiple counts of criminal possession

of a controlled substance, in varying degrees. PSR ¶ 88. To pay for his mounting legal

fees, among other reasons, Nichols continued selling narcotics following his 1985

arrest. PSR ¶ 57 (“defendant acknowledged that he ‘kept his hand in the cookie jar’

by selling narcotics wholesale on consignment.”). Nichols was convicted in January

1988, and in February 1988 sentenced to 25 years to life imprisonment. PSR ¶ 88.

           2. Murder Charges: 1985-1992. Nichols was admitted to bail following his

July 1985 arrest. A week later, however, his parole officer, Brian Rooney, violated

Nichols and so he was returned to custody. PSR ¶ 30. On October 10, 1985, PO Rooney

was murdered in his car. PSR ¶ 31. According to the PSR, Nichols was charged with

this murder in 1987. PSR ¶ 94.                                          , in February

1992 Nichols plead guilty to ordering the murder and was sentenced to 25-life, to run

concurrently with the 25 to life sentence imposed consequent to his narcotics

convictions.

      B. Federal Charges.

               1. Arrest, Indictment, and Plea: 1988-1989. In August 1988, search

warrants and arrest warrants were executed by federal agents all throughout

Queens, including at Big Mac’s Deli. According to a New York Times article, the

                                          4
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 10 of 31 PageID #: 673




criminal complaint alleged Nichols ran this organization.2 Nichols was already in

custody at this time, having been convicted and sentenced in February 1988 on the

narcotics case. Pursuant to writ, Nichols was brought into federal custody on August

11, 1988, and ordered to be held “in federal custody under writ.” Exhibit A, 1988-92

(Pre-ECF) Docket, at 5.

      We could not locate the criminal complaint, the original indictment or several

of the superseding indictments, but we did locate the sixth superseding indictment,

dated February 10, 1989. The charges therein related to Nichols allege that, between

1986 and 1988, Nichols was a large-scale trafficker in heroin, cocaine, and crack. See

Exhibit B, S-6, at 1, 2, 6-7. Count Two of the indictment alleged Nichols was the

leader of the Nichols Organization, a continuing criminal enterprise under 21 U.S.C.

§ 848(a).

      Later, in September 1989, however, Nichols agreed to plead guilty to an

information alleging that, in furtherance of the racketeering activity (i.e., drug

trafficking between 1985-88), he ordered the murders of Isaac Bolden and Myrtle

Horsham. See Exhibit C, Plea Transcript, at 5-7; see also id. at 18-20 (Bolden), 20-22

(Horsham).




2      See Peter Kerr, 30 Held in Sweep Against Drug Ring Tied to Officer's Killing,
New       York      Times,     published Aug.     12,   1988,     available      at,
https://www.nytimes.com/1988/08/12/nyregion/30-held-in-sweep-against-drug-ring-
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                                          5
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 11 of 31 PageID #: 674




-


                                         On February 7, 1992, Nichols was sentenced

by this Court to 40 years’ imprisonment. Id. at 17-18. This term was intended to run

concurrent with Nichols’ aforesaid state convictions. See Doc. 161 (“It was my

intention that [Nichols’] federal sentence run concurrently with his state sentence.”)3




3      Unless otherwise noted, all citations to “Doc.” refer to United States v. Nichols,
88-cr-496 (EDNY).

                                           6
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 12 of 31 PageID #: 675




                                      7
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 13 of 31 PageID #: 676




__       4




      C. Federal Incarceration: 1988-2005.

      Nichols, as mentioned above, had been brought by writ into federal custody in

August 1988

                     . There does not appear to be any records of Nichols' conduct

while in federal custody during that period except for an excerpt from a letter that




                                         8
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 14 of 31 PageID #: 677




was written by a former attorney of Nichols’. That letter, re-produced in the packet

submitted in support of his recent bid for parole, references a hearing in connection

with Nichols’ administrative segregation designation at which a BOP official, Michael

Egan (a BOP employee) provided testimony.5 Summarizing Mr. Egan’s testimony,

Nichols’ attorney related,

             During the hearing DOCCS held about Lorenzo’s secure
      placement at DOCCS, Mr. Michael Egan (employee of the Federal
      Bureaus of Prisons) testified that Mr. Nichols, while in federal custody,
      received only 3 minor infractions over 17 years (none involving violence
      or drugs) and was a model inmate. He further indicated that Nichols
      was not a management concern and made a good institutional
      adjustment.

Exhibit G, Parole Packet, at 9.6

      D. NYS Incarceration: 2005-2022.

      Nichols was returned to NYS custody in 2005 to continue serving his 25-life

sentence. In 2010, Nichols became eligible for parole, having served 25 years of the

aforesaid sentence, imposed in 1985. About five years earlier, in 2005, Nichols became

eligible for a re-sentencing under the Drug Law Reform Act, which abolished the

Rockefeller Drug Laws under which Nichols was initially sentenced. He declined to

be re-sentenced because, as he told the Parole Board, he believed his sentence was

just. See Exhibit G, Parole Packet, at 17. According to an evaluation filed with his

2020 Parole Packet by a respected expert on NYS criminal sentencing, Nichols, had

he availed himself of re-sentencing, would have faced a maximum term of 30-years’



5      Exhibit G, the Parole Packet, is extensive and details his prior parole hearings,
letters of support, and institutional adjustment.
6      The undersigned could not locate the transcript of the hearing.

                                           9
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 15 of 31 PageID #: 678




imprisonment, assuming the court would have run his sentences concurrent as it did

in 1988. See Exhibit H, Rockefeller Drug Law Analysis, at 2,7. By 2020, Nichols had

been incarcerated for 35 years, five years longer than the statutory maximum he

faced under the Drug Law Reform Act.

      Between 2010 and 2021, Nichols was repeatedly denied parole, citing,

generally, his crimes of convictions, including his federal convictions. See e.g., Exhibit

G, Parole Packet, at 13-18 (excerpts from the Parole Board’s 2016, 2018, 2019, 2020,

and 2021 denials mentioning federal conviction).7 Additionally, there was strong

opposition for granting parole by the Police Benevolent Association. Id. at 46

(overview of community opposition).8

      There was little question, however, that Nichols had adjusted well to

incarceration. As a precursor to parole, DOCCS prepares a Correctional Offender

Management Profiling for Alternative Sanctions (“COMPAS”) report, which is used,

among other purposes, to determine risk assessment and re-entry plans.9 Nichols’



7      The Queens DA Office repeatedly opposed parole, also citing Nichols’ federal
murder-in-aid of racketeering convictions. See Exhibit J, DA Opp., at 2, 4. Both
letters also cited Nichols’ involvement in the Rooney murder.
8      After Nichols was granted parole, the PBA re-published an article in the New
York Post criticizing the grant due to Nichols’ federal convictions and role in the
Rooney murder. The article also quoted a retired detective who worked on the
investigation into the murder of Officer Edward Byrne and said releasing Nichols
would be “outrageous” given that Nichols’ organization was “responsible for the
assassination of Police Officer Edward Byrne.” Nichols was never charged with being
involved in this murder. The article is accessible here: https://www.nycpba.org/news-
items/post/2022/killer-drug-lord-lorenzo-fat-cat-nichols-granted-state-parole-
released-to-feds/
9      See Directive No. 8500, New York State Department of Corrections and
Community        Supervision,     published    Aug.     14,    2019,   available   at
https://doccs.ny.gov/system/files/documents/2020/11/8500.pdf

                                           10
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 16 of 31 PageID #: 679




2021 COMPAS report ranked as “Low” his “Risk of Felony Violence”, “Arrest Risk”,

and “Abscond Risk”. Exhibit I, COMPAS, at 1. The disciplinary history section

marked as “No” whether “this person has ever received Tier 2 or 3 disciplinary

infractions for fighting/threatening other inmates or staff”, id. at 3; it also marked

“No” in response to “Does this person appear to have notable disciplinary issues?” Id.

at 4. The undersigned could not locate the decision granting Nichols parole.



II. THE COURT SHOULD GRANT COMPASSIONATE RELEASE

      A. The Court Has Authority to Decide this Motion.

      “[A] defendant may go to court ‘after the defendant has fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by

the warden of the defendant’s facility, whichever is earlier[.]’” United States v.

Brooker, 976 F.3d 228, 233 (2d Cir. 2020) quoting 18 U.S.C. § 3582I(1)(A). Here,

Nichols submitted his request to the warden at MDC Brooklyn on July 15, 2022. See

Doc. 168 at 2; see also Doc. 163. More than 30-days have elapsed since this request

was made. Therefore, this Court should consider the merits of this motion.

      B. Mr. Nichols’s Circumstances are Extraordinary and Compelling.

      The Second Circuit’s decision in United States v. Brooker, 976 F.3d 228 (2d

Cir. 2020), endowed district courts with “near absolute discretion in determining

what constitutes an extraordinary and compelling circumstance warranting relief

when deciding motions brought directly by a defendant.” United States v. Correa, No.

08-CR-1026 (VEC) 2020 WL 7490098, at *3 (S.D.N.Y. Dec. 21, 2020). Practically, this

                                          11
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 17 of 31 PageID #: 680




means district courts are free to “consider the full slate of extraordinary and

compelling reasons that an imprisoned person might bring before it.” United States

v. Scarpa, No. 94-CR-1119-1 (ERK), 2020 WL 6591455, at *1 (E.D.N.Y. Nov. 11, 2020)

quoting Brooker, 976 F.3d at 237. The only “statutory limit on what a court may

consider to be extraordinary and compelling is that ‘[r]rehabilitation... alone shall not

be considered an extraordinary and compelling reason.’” Brooker, 976 F.3d at 238.

However, rehabilitation can be considered along with other factors. See Scarpa,

supra, at *1.

      As    discussed   above,   three   circumstances,      considered    together,    are

extraordinary and compelling: (1) he is rehabilitated, (2) the conditions of

confinement during COVID, and (3) unaddressed sentencing issues including
                                                                                     -
                                                , and (ii) the Court’s failure to credit the

four years of pre-sentence custody under § 5G1.3. These circumstances are discussed

in turn.

      1. Rehabilitation

      Rehabilitation is often cited as a factor in finding extraordinary and compelling

circumstances. For example, in United States v. Scarpa, this Court granted

compassionate release to a defendant that received a 482-month sentence for, inter

alia, his involvement in “several conspiracies to commit murder.” Scarpa, 2020 WL

6591455, at *2 (E.D.N.Y. Nov. 11, 2020). In addition to declining health, this Court

pointed to the defendant’s rehabilitation in finding the existence of extraordinary and

compelling circumstances, the evidence of which was his lack of disciplinary

infractions over 20 years of incarceration

                                           12
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 18 of 31 PageID #: 681




                         . Id. More recently, Judge Block, in United States v. Russo,

cited rehabilitation in granting compassionate release to a defendant 29 years into a

life sentence imposed for, inter alia, two murder-in-aid of racketeering convictions.

See United States v. Russo, No. 90-CR-1063, 2022 WL 17247005, at *4 (E.D.N.Y. Nov.

28, 2022). Unlike in Scarpa,

                 but rather maintained a clean disciplinary record, and had multiple

letters of support attesting to the defendant’s growth.

      Here, as the quoted testimony by the BOP called to testify for Nichols’ makes

clear, Nichols was a “model inmate” during the first 17 years of his incarceration. See

Exhibit G, Parole Packet, at 9. The next 20 years in NYS custody, per his COMPAS

Report, were equally impressive. See Exhibit J, Compas Report, at 1-13. Indeed,

various statements Nichols made to the Parole Board and the various letters

submitted on his behalf attesting to his rehabilitation confirm that Nichols was not

just good on paper.10 To give the Court a feeling of the person Nichols has grown into

from the 26-year-old arrested so many years ago, here is an excerpt from a letter he

wrote to the Parole Board in December 2021:

            I, Lorenzo Nichols, am writing to sincerely apologize to my
      victims, their families, friends, and to the community for all the anguish,
      and fear I have caused. I also would like to apologize to Mr. Brian
      Rooney's family, friends, and colleagues for his death. I am remorsefully
      aware of the pain and suffering they will carry for the rest of their lives.

10    For personal letters describing Nichols’ transformation over his 37 years of
incarceration, we direct the Court to the Parole Packet (Exhibit G) at pages 19-27
(excerpts of Nichols’ statements and letters expressing remorse), 27 (2019 letter from
a NYS Correctional Officer), and 27-46 (excerpts from various letters of support
submitted by family, friends, and organizations from 2018 through December 2021).

                                          13
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 19 of 31 PageID #: 682




      Please understand that it was never my intentions. Words cannot
      express how remorseful I am, or how I deeply regret everything that
      happened to Mr. Rooney's and his family. I hold myself accountable for
      my disastrous behavior. I truly apologize. I know it is difficult to heal
      from these traumatic events. However, I can only pray and hope to
      convey my repentance, bring closure to my victims’ families, and help
      prevent others from making the same mistakes as I did.

             As a young man, I did not understand the concept of civic and
      moral values. My mother and family believed in providing us with the
      basic necessities in life. They didn't have the knowledge to equip us with
      the tools for success. I began looking up to the wrong people. I started
      taking short cuts by selling drugs. The thought of drugs destroying lives
      and the community never crossed my mind. I was too focused on making
      money that I didn't see the deadly danger of that lifestyle.

             My oldest sister, Marty Nichols, everyone called her Baby Sister.
      She was killed in a firebomb attack at our mother's house by rivals who
      were targeting my associates. I choose the wrong path out of greed and
      ignorance, it cost me everything. I was not able to physically help raise
      my children. I've been divorced twice while in prison. I was not able to
      attend any funerals. My mother, father, stepfather, two sisters, my
      nephew, and youngest niece whom I help raised, have all passed away
      since I've been incarcerated. The Lord knows, if I could do it all over
      again, I would choose a different path.

             The past 36 years has given me a lot of time to reflect and be
      honest with myself that selling drugs was no short cut to success. There
      is nothing smart, or glorious about being a drug dealer. I now realize
      how young and ignorant I was; I take full accountability for my actions
      that left a trail of destruction and tore many families apart.

             I've spent nearly 37 years in prison. I am not that 26-year-old who
      violated parole and committed those heinous crimes. I am now 62, soon
      will be 63 in a couple days. I threw away my life with my senseless,
      reckless, actions. I can only pray and hope for an opportunity to start a
      second chapter in my life.

Exhibit G, Parole Packet, at 20-21. Nichols has not just been writing letters, however.

He has been a motivating force in bringing the community together, even during the

most difficult of times. As explained by Yamara Brown, Minister of the Evangelistic

Ministries Church:



                                          14
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 20 of 31 PageID #: 683




          During the George Floyd protest, there was an issue of defunding the
          police. I thought brother Nichols would agree with the majority.
          However, his words of encouragement calmed many minds, he stated,
          "Defunding the police is a bad idea, police need more training, and the
          focus should be on building police-community relationships". He is a
          humanitarian who is hopeful that one day we will all come together,
          stop destroying ourselves, the earth, and think about making the world
          a better place for generations to come.

Id. at 38; see also id. at 43-44 (letters from activists doing human rights work in

Afghanistan     detailing   Nichols' role in then· lives). Nichols' contrition     and action

towards repairing     the damage he caused has earned him the support of even a

National Board Member for the NAACP, who wrote the Parole Board explaining, "I

think we will be able to use Mr. Nichols to help many others in New York and

throughout    this nation to help youth that are off track and help change their young

lives in the right dn·ection." Id. at 43. The NAACP also promised to help Nichols find

employment through its programs to help formerly incarcerated            persons re·integi·ate

upon release. Id.

      But Nichols' transformation,         including   his realization   that to repan· the

damage he caused requires that he help to rebuild the community he brought so much

pain to




                                              15
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 21 of 31 PageID #: 684




      2. Conditions of Confinement

      This Court's      ability to consider the restrictive   conditions   of confinement

occasioned by COVID-19 has been well established,         by a litany of cases. See e.g.,

Russo, 2022 WL 1724 7005, at *6 ("the restrictions    ... during the pandemic have made

Russo's incarceration    much more punitive than originally contemplated       at the time

of sentencing''); see also Reynolds v. United States, No. 99-CR-520 (NGG), 2022 WL

1444167, at *4 (E.D.N.Y. May 6, 2022) (same, collecting cases).

      Here, since April 2022, Nichols has been held at Brooklyn MDC, a facility that

has been notorious for its poo1· handling of the pandemic. Indeed, as of this writing,

the MDC continues to practice Level 3 Operations in response to the pandemic,       12 "the


most severe, due to the community transmission          rate being higher than 100 per

100,000 over the last 7 days." United States v. Demeo, No. l 7-CR-545 (KAM), 2022

WL 142345, at *4 (E.D.N.Y. Jan. 15, 2022) ("the current conditions at MDC Brooklyn




12      See BOP Modified Operations: In order to mitigate the sp1·ead of COVID-19,
the BOP is operating undel' the following conditions, Federal Bureau of Prisons, last
viewed           December             30,         2022,        available          at,
https://www.bop.gov/coronavirus/covidl9   status.jsp

                                            16
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 22 of 31 PageID #: 685




support finding that extraordinary and compelling reasons exist in this case.”) Of the

97 BOP facilities, MDC is one of fourteen currently practicing the most restrictive

measures. These measures include, but are not limited to, limitations on healthcare

(“When an institution is functioning at Level 3 operations, health care services may

be limited to urgent health care needs and routine services may be postponed as

clinically appropriate.”), limitations on recreation (3 times a week for 1 hour, but no

group sports or use of gym equipment), and limitations on food service (encourage

providing meals inside housing units or cells).13

      Before arriving at MDC, Nichols was confined at Clinton Correctional Facility,

the conditions at which were no better than those at MDC, as evidenced by a February

2022 report published by the Correctional Association of New York (“CANY”)14:

              CANY’s monitoring visit to Clinton revealed an antiquated
      facility that is failing to provide adequate services for the incarcerated
      population housed there. Reports from incarcerated people uncovered
      extensive issues with medical, dental, and mental health services
      caused by critical staff shortages, substandard care, and a punitive
      environment that responds to healthcare needs with punishment. The
      occurrence of three deaths at the facility within the course of 30 days in
      June and July 2021, as well as a high rate of attempted suicide, with
      17.6% (18 incidents) of attempted suicides systemwide occurring at
      Clinton Correctional Facility from November 2019 to December 2020,
      indicate a severe inability in the prison’s ability to prevent death by
      suicide or other means and in providing medical and mental health care
      for incarcerated individuals.


13    See COVID-19 Pandemic Response Plan, Federal Bureau of Prisons, published
February                7,              2022,              available               at
https://www.bop.gov/foia/docs/COVID Pandemic Response%20Plan V.pdf (see pp.
91, 101, 102 of PDF).
14     Monitoring Visit To Clinton Correctional Facility, Correctional Association of
New         York,       published       February       2022,       available       at
https://static1.squarespace.com/static/5b2c07e2a9e02851fb387477/t/627d96476c4e3
77e0d2e6f84/1652397642479/CANY Briefing-Clinton-05122022.pdf (p.2)

                                          17
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 23 of 31 PageID #: 686




      Whereas the Court likely could have foreseen unusual limitations on Nichols’

confinement (including, for example, restricting family visits)

                      certainly the conditions under which Nichols has served these

past nearly three years due to the COVID-19 pandemic could not have been foreseen.

      3. Unaddressed Sentencing Issues

      It can hardly be doubted that the 37 years Nichols has spent incarcerated is a

very long time. To put it into perspective, at 64 years old, Nichols has spent nearly

60% of his life – and nearly all his adult life – behind bars. Nichols, however,

understands the severity of his conduct required a strong message be sent. So much

so that he forfeited a potential opportunity for release from NYS Custody in 2015 by

declining to apply for re-sentencing under the Drug Law Reform Act.15 But Nichols’

decision to do so is relevant not just because it shows his remorse, but also because it

effectively delayed his ability to learn of and address two issues that likely would

have resulted – and should still result – in a sentencing reduction: the dual failures

to follow up on the                                                and to provide him

credit for his federal pre-sentence custody.

          i.
                -
15    As discussed above, Nichols, if re-sentenced to concurrent time, faced a
statutory maximum of 30 years imprisonment, which, having been incarcerated since
1985, would have resulted in his release from DOCCS and transfer to BOP custody
in 2015. See Exhibit H, Rockefeller Analysis, at 2.

                                          18
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 24 of 31 PageID #: 687




                                      19
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 25 of 31 PageID #: 688




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                                      20
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 26 of 31 PageID #: 689




          11.   U.S.S.G. § 501.3

          Another un·addressed     issue that could provide relief to Nichols is the absence

of an adjustment     under U.S.S.G. § 5Gl.3(b) at the time of sentencing to account for

the four years Nichols spent in pre-sentence        federal custody between 1988 and 1992.

That Guideline provision, as reflected in the 1991 Sentencing Guidelines Manual,            20


states,

          (b) If subsection (a) does not apply, and the undischa1·ged term of
          imprisonment resulted from offense(s) that constituted part of the same
          course of conduct as the instant offense and have been fully taken into
          account in the determination of the offense level for the instant offense,
          ... , the sentence for the instant offense shall be imposed to result in a
          combined sentence equal to the total punishment that would have been
          imposed under §5G 1.2 (Sentencing on Multiple Counts of Conviction)
          had all the sentences been imposed at the same time.

          Application Note 2 explains when such an adjustment       would be appropriate:




20     See 1991 Fede1·al Sentencing Guidelines Manual: Chapte1· Five -Dete1wining
the Sentence, United States Sentencing Commission, effective November 1991,
available         at,          https://www.ussc.gov/sites/defa ult/files/pdf/guidelines·
manual/1991/manual·pdf/Chapter       5.pdf (see pp. 32-33).

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Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 27 of 31 PageID #: 690




       Second, it applies if the conduct resulting in the undischarged term of
       imprisonment was part of the same course of conduct as the instant
       offense and has been fully taken into account in determining the offense
       level for the instant offense (e.g., where a defendant is prosecuted in
       both federal and state court for the same criminal conduct; or where a
       defendant is prosecuted in federal and state court for different criminal
       transactions that are part of the same course of conduct, such as two
       drug sales, but the conduct underlying both transactions is fully taken
       into account under §1B1.3 (Relevant Conduct) in determining the
       offense level for the instant offense).

See fn. 20, supra, at 33. Application Note 3 goes on to explain that the sentence to be

imposed in such a situation “should adjust for any term of imprisonment already

served as a result of the conduct taken into account in determining the instant

sentence (e.g., if the appropriate total punishment determined under this subsection

for all offenses is 30 months and the defendant has already served 10 months of the

prior undischarged term of imprisonment, the court should impose a sentence of 20

months concurrent with the prior undischarged term).” See fn 20, supra, at 33.

      Since 1991, § 5G1.3 has been amended by adding to section “b” subsection “1”

which requires the court to “adjust the sentence for any period of imprisonment

already served on the undischarged term of imprisonment if the court determines

that such period of imprisonment will not be credited to the federal sentence by the

Bureau of Prisons[.]” U.S.S.G. § 5G1.3(b)(1) (emphasis added) (“the court shall

adjust…[.]”); cf. fn. 20, supra, at 33 (Application Note 3: “the court should adjust[.]”)

      In February 1988, Nichols was sentenced in New York State to 25-life for drug

offenses. A few months later, in August 1988, Nichols was brought by writ into federal

custody where he was arraigned on the instant offense conduct, charging, inter alia,

racketeering activity involving drug distribution between 1986 and 1988. Exhibit A,



                                           22
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 28 of 31 PageID #: 691




1988-92 (Pre-ECF) Docket, at 2. In October 1988, this Court noted in a docket entry

that it did not expect the BOP would credit Nichols for his pre-sentence confinement

given the undischarged NYS 25-life sentence. Id. at 8 (“if there is reversal in the state

appeal [Nichols] will be given credit for time he was held at MCC for federal

proceedings.”) Nichols ultimately plead guilty to two murders committed in aid of the

aforesaid racketeering.

                                    See Exhibit E, Nichols J&C, at 4. Nichols should

have been credited for his pre-trial confinement under § 5G1.3(b) because the conduct

underlying his state court conviction was relevant conduct to his federal offense of

conviction.

      The conduct underlying the federal charges was a mere continuation of the

offenses of which Nichols was convicted in New York State and thus relevant conduct

per §1B1(a)(1). As stated in the PSR, under the heading “Offense Conduct,” the

Nichols Enterprise, the entity named in the Information to which Nichols plead

guilty, existed continuously “between 1981 and Nichols’ arrest on federal charges in

August 1988[.]” PSR ¶ 9. The entity also continuously operated out of Big Mac’s Deli.

The nature of the Enterprise as a wholesale distributor of heroin and cocaine also

remained unchanged between 1981 and 1988. PSR ¶ 12. Indeed, the PSR further

notes that even after his 1985 NYS arrest, “defendant acknowledged that he ‘kept his

hand in the cookie jar’ by selling narcotics wholesale on consignment.” PSR ¶ 57. The

conduct for which Nichols was arrested in 1985, in other words, continued unabated,

and without change, until his arrest in 1988. Cf. United States v. Perdomo, 927 F.2d

111, 115 (2d Cir. 1991) (sales of same drug, cocaine, were part of same course of

                                           23
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 29 of 31 PageID #: 692




conduct despite different conspiracies with different members and methods, and

despite four-month interval between sales).

      As the Court correctly predicted, the BOP did not credit the four years Nichols

spent in federal pre-sentence custody, evidenced by Nichols’ BOP computation sheet

stating Nichols’ 40-year sentence commenced in February 1992, i.e., the date of his

federal sentencing. See Doc. 168 at 4. This was not necessarily error, however, as the

BOP was not required to credit the four years Nichols spent in federal pre-sentence

custody because it was being credited to his 25 to life New York State sentence. See

18 U.S.C. § 3585(b).21 Even so, this Court is free to consider its failure to “adjust the

sentence for any period of imprisonment already served on the undischarged term of

imprisonment”, § 5G1.3(b), in finding extraordinary and compelling circumstances.

See Reynolds v. United States, No. 99-CR-520 (NGG), 2022 WL 1444167, at *3

(E.D.N.Y. May 6, 2022) (“Reynolds's argument is convincing insofar as ‘[t]he purpose

of § 5G1.3 is to prevent double-counting of the same conduct in two separate

sentences.’”). Alternatively, the Court can consider the non-retroactivity of the




21    18 U.S.C. § 3585(b) provides:

      (b)Credit for Prior Custody.—A defendant shall be given credit toward the
      service of a term of imprisonment for any time he has spent in official
      detention prior to the date the sentence commences—
             (1) as a result of the offense for which the sentence was imposed; or
             (2) as a result of any other charge for which the defendant was
             arrested after the commission of the offense for which the sentence was
             imposed;
                    that has not been credited against another sentence.



                                           24
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 30 of 31 PageID #: 693




amendment to § 5G1.3, which today explicitly directs courts to adjust a sentence to

credit a period of confinement if the court believes the BOP will not do so.

                                          ***

      For all these reasons, this Court should find Nichols’ circumstances

extraordinary and compelling.

C. The Proposed Reduction is Consistent with § 3553(a).

      The United States Supreme Court recently provided guidance on the role

played by the § 3553(a) factors in deciding motions for a reduction of sentence brought

under the First Step Act: “[A] federal judge in deciding to impose a sentence ‘may

appropriately conduct an inquiry broad in scope, largely unlimited either as to the

kind of information he may consider, or the source from which it may come.’ United

States v. Tucker, 404 U.S. 443, 446 (1972). The discretion federal judges hold at initial

sentencings also characterizes sentencing modification hearings.” Concepcion v.

United States, 142 S.Ct. 2389, 2399 (2022). Particularly relevant here, the Supreme

Court said,

      When a defendant appears for sentencing, the sentencing court
      considers the defendant on that day, not on the date of his offense or the
      date of his conviction. Pepper v. United States, 562 U.S. 476, 492, 131
      S.Ct. 1229, 179 L.Ed.2d 196 (2011).

Id. at 2396.

      Nichols, through many, many years of reflection now understands and can

articulate the harm his criminal conduct had on the community at large. He has

devoted his efforts towards repairing the damage he caused by sharing his experience

with the public through religious organizations and community organizations alike.



                                           25
Case 1:88-cr-00496-ERK Document 174 Filed 01/04/23 Page 31 of 31 PageID #: 694




He has lent a helping hand to many inmates adjusting to the difficulty of

incarceration while simultaneously helping them steer clear of the life of crime that

condemned him to spending, so far, nearly 60% of his life behind bars. See e.g.,

Exhibit G, Parole Packet, at 40 (letter from Miguel Ortiz), 41 (letters from Jeremy

Fulton and Paul Leitgeb), 42 (letter from Brian Martin) 43 (letter from Paz Ludwig).

And his risk assessment reports provide that he is not a danger to the community,

which he will not even return to until he completes the 10-year sentence in Florida.

      Thirty-seven years of continued imprisonment is a very long time. It is also

three years longer than the 34 years an inmate would ordinarily serve on the 40-year

sentence Nichols received. A reduction of four years or to a sentence of time served,

for all the reasons discussed above, would therefore be consistent with the goals of

sentencing.

                                    Conclusion

      For all these reasons, this Court should reduce Nichols’ sentence to thirty-six

years or time served.

Dated: January 4, 2023

                                              Respectfully submitted,
                                          ~;;t/1cf
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                                         26
